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                                   UNITED STATES DISTRICT COURT
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                  CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DISTRICT
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       SGII, INC., d/b/a SENEGENCE                    Case No. 8:19-cv-00541-JVS-KES
12     INTERNATIONAL,
                                                     ORDER DISMISSING ACTION
13                    Plaintiff,                     WITH PREJUDICE AND CONSENT
                                                     ORDER
14           v.
15     SIARA MARTIN, et al.,
16                    Defendants
17     AND RELATED COUNTERCLAIMS
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                         [PROPOSED] ORDER DISMISSING ACTION WITH PREJUDICE AND CONSENT ORDER
     Case 8:19-cv-00541-JVS-KES Document 104 Filed 10/27/21 Page 2 of 3 Page ID #:3136



1            The Court, having considered the Joint Stipulation to Dismiss Action and Consent
2      Order filed by plaintiff/counterclaim-defendant SGII, Inc. (“SeneGence”),
3      defendants/counterclaim-plaintiffs, Siara Martin and Siara Martin, LLC
4      (“Defendants/Counterclaimants”), and counterclaim-defendant Joni Rogers-Kante (“Ms.
5      Rogers-Kante”) (singularly a “Party” and collectively the “Parties”), hereby orders as
6      follows:
7            1.     The Parties shall comply with the terms of their settlement agreement
8      entered into on October 1, 2021;
9            2.     No Party is admitting liability to any other Party with regard to the acts
10     asserted in this case;
11           3.     The Court shall retain jurisdiction for the purpose of enforcing the terms of
12     the settlement agreement;
13           4.     Siara Martin and Siara Martin, LLC and all those acting in concert with
14     them shall not use any of the following in any visual display, including audiovisual or
15     photographic digital or analog work, and shall refrain from taking, displaying, sharing,
16     distributing, or selling any such visual displays: 1) SeneGence trademarks; 2) SeneGence
17     color names in connection with SeneGence products/makeup; or 3) SeneGence products
18     or makeup, except that the foregoing shall not preclude Siara Martin or the subjects of her
19     photographs from being photographed while wearing SeneGence makeup, provided such
20     photographs are not of the same type exemplified by the allegations in the Fourth
21     Amended Counterclaims (e.g, solely of lips or eyes), and do not identify (on the
22     photograph, in a file name, or with accompanying text) SeneGence, its products, its
23     trademarks or its color names, and provided the photographs are not sold or licensed for
24     compensation, or distributed, to any third party for the purpose of that third party to use
25     the photograph in the advertising or marketing of any SeneGence product; and
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                           [PROPOSED] ORDER DISMISSING ACTION WITH PREJUDICE AND CONSENT ORDER
     Case 8:19-cv-00541-JVS-KES Document 104 Filed 10/27/21 Page 3 of 3 Page ID #:3137



1                  5.   Except as provided for above, this case is dismissed, with prejudice, and
2        each Party shall bear its own attorney’s fees and costs.
3                  IT IS SO ORDERED.
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6        Dated: October 27, 2021                 ______________________________
                                                      Honorable James V. Selna
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                              [PROPOSED] ORDER DISMISSING ACTION WITH PREJUDICE AND CONSENT ORDER
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